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_________________________________________________________________________________

                                                SO ORDERED,



                                                Judge Jason D. Woodard
                                                United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________

              IN THE UNITED STATES BANKRUPTCY COURT FOR
                  THE NORTHERN DISTRICT OF MISSISSIPPI

   IN THE MATTER OF:                                          CHAPTER 13 CASE NO.:

   RICKEY L. TURNER                                           20-10079-JDW

                         AGREED ORDER GRANTING
                     MOTION TO IMPOSE AUTOMATIC STAY
          THIS MATTER came before the Court on the Debtor’s Motion to Impose
   Automatic Stay (Dkt. #8) (the “Motion”) and the Trustee’s Objection to Motion to
   Impose Automatic Stay (Dkt. #15). The parties have settled the Motion, and the
   agreement of the parties, as expressed herein, is hereby approved by the Court.

          IT IS THEREFORE ORDERED AND ADJUDGED, that the Debtor’s
   Motion to Impose Automatic Stay (Dkt. #8) shall be and is hereby granted.

          IT IS FURTHER ORDERED, that the automatic stay of §362(a) shall be and
   is hereby imposed as to all creditors.

          IT IS FURTHER ORDERED, that if the Debtor is not current on plan
   payments at the time when the Trustee determines that this case is ready for
   confirmation, the Trustee shall give the Debtor (via U.S. Mail) and counsel for the
   Debtor (via email) notice of such delinquency (the “Notice”), and should such
   delinquency not be cured within fourteen (14) days from the date the Notice was
   issued, the case shall be dismissed by subsequent order without further notice of
   hearing. Should the fourteen (14) day notice period extend beyond the 20th day

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   of the month, the delinquency to cure shall include the plan payment due that
   month.

          IT IS FURTHER ORDERED, that should the Debtor become sixty (60) days
   or more delinquent in Chapter 13 plan payments, calculated from the month
   immediately following the month in which the Chapter 13 plan is confirmed, this
   case may be dismissed by subsequent order without further notice or hearing.

          IT IS FURTHER ORDERED, that if this case is dismissed pursuant to the
   terms of this order, the Debtor shall be ineligible to be a debtor in a Chapter 13
   proceeding, in this or any district, for a period of 180 days.

                                ### END OF ORDER ###


   AGREED & APPROVED:

   /s/ W. Jeffrey Collier
   W. JEFFREY COLLIER – MSB#10645
   ATTORNEY FOR TRUSTEE

   /s/ Kimberly Brown Bowling
   KIMBERLY BROWN BOWLING
   ATTORNEY FOR DEBTOR




                                                                    Prepared by:
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